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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
────────────────────────────────────
PHOENIX LIGHT SF LTD., ET AL.,
                                                 14-cv-10103 (JGK)
                      Plaintiffs,
                                                 OPINION AND ORDER

           - against-


DEUTSCHE BANK NATIONAL TRUST CO.,
                      Defendant.
────────────────────────────────────

JOHN G. KOELTL, District Judge:

     This case, like many others before it, is about residential

mortgage-backed securities (“RMBS”) trusts. Phoenix Light SF

Limited (“Phoenix”) and nine other special-purpose investment

vehicles (collectively “the plaintiffs”) that invested in RMBS

Trusts filed this action against Deutsche Bank National Trust

Company (“Deutsche Bank” or the “defendant”). Deutsche Bank was

the RMBS Trustee for 55 Trusts in which the plaintiffs had

invested (the “Covered Trusts” or “Trusts”). The Second Amended

Complaint (“SAC”) alleges that Deutsche Bank violated its duties

as the RMBS Trustee to ensure that the documents relating to the

mortgage files were complete, to ensure that the servicers of

the mortgage loans were acting prudently, and to give notice to

all the parties to the Pooling and Servicing Agreements (“PSAs”)

and Indenture Agreements (together, “Agreements”) that governed



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the Covered Trusts that there were ongoing breaches of

representations and warranties by the sponsors or originators of

the Trusts and by the servicers of the Trusts. The plaintiffs

assert, among other things, that Deutsche Bank’s conduct as RMBS

Trustee breached the PSAs and Indenture Agreements; violated the

Trust Indenture Act of 1939 (“TIA”), 15 U.S.C. § 77aaa, et seq.,

and New York’s Streit Act, N.Y. Real Prop. Law § 124, et seq.;

breached the fiduciary duty Deutsche Bank owed to the

plaintiffs; and was negligent or grossly negligent.

     Deutsche Bank now moves to dismiss portions of the SAC. For

the reasons explained below, Deutsche Bank’s motion is granted

in part and denied in part.

                                   I.

     Deutsche Bank moves to dismiss parts of the SAC pursuant to

Federal Rule of Civil Procedure 12(b)(6) for failure to state a

claim upon which relief can be granted.

     In deciding a motion to dismiss pursuant to Rule 12(b)(6),

the allegations in the complaint are accepted as true, and all

reasonable inferences must be drawn in the plaintiff’s favor.

McCarthy v. Dun & Bradstreet Corp., 482 F.3d 184, 191 (2d Cir.

2007). The Court’s function on a motion to dismiss is “not to

weigh the evidence that might be presented at a trial but merely

to determine whether the complaint itself is legally

sufficient.”   Goldman v. Belden, 754 F.2d 1059, 1067 (2d Cir.

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1985). The Court should not dismiss the complaint if the

plaintiff has stated “enough facts to state a claim to relief

that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007). “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009).

     While the Court should construe the factual allegations in

the light most favorable to the plaintiff, “the tenet that a

court must accept as true all of the allegations contained in

the complaint is inapplicable to legal conclusions.” Id. When

presented with a motion to dismiss pursuant to Rule 12(b)(6),

the Court may consider documents that are referenced in the

complaint, documents that the plaintiff relied on in bringing

suit and that are either in the plaintiff’s possession or that

the plaintiff knew of when bringing suit, or matters of which

judicial notice may be taken. See Chambers v. Time Warner, Inc.,

282 F.3d 147, 153 (2d Cir. 2002).

                                   II.
     The Court accepts the plaintiffs’ allegations in the SAC as

true for the purposes of this motion to dismiss. The plaintiffs

are holders of RMBS certificates issued by certain Trusts for

which Deutsche Bank served as the Trustee. The Trusts were


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created between 2005 and 2007. The Plaintiffs currently hold

RMBS certificates with an original face value of over $935

million. SAC ¶ 3.

     The main plaintiff, Phoenix, is a private limited company

incorporated under the laws of Ireland with its principal place

of business in Ireland. SAC ¶ 16. The other plaintiffs are

special purpose entities that were formed to issue securities in

securitization transactions referred to as “collateralized debt

obligations” or CDOs. SAC ¶¶ 16-25. The plaintiffs are CDO

issuers that invested in RMBS certificates and then issued notes

pursuant to an indenture or an agreement. SAC ¶ 28.

     In the course of briefing the present motion, the parties

agreed to dismiss claims relating to 4 Trusts, Dkt. Nos. 60 &

61, leaving only the claims pertaining to 51 Trusts. The Trusts

were created in a mortgage loan securitization process whereby

mortgage loans were originated and pooled together in various

trusts. The sponsor of the trust acquired the mortgage loans and

then sold the large pool of loans to a depositor. The depositor

conveyed the pool of loans to a trustee pursuant to a PSA. SAC

¶¶ 50-52. Trust certificates were issued for particular tranches

in the trust and the certificates were sold to an underwriter,

which in turn sold the certificates to investors, like the

plaintiffs. SAC ¶ 52. The servicer for each trust manages the

collection of mortgage payments in return for a fee, and the

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servicer is tasked with monitoring loan performance, the rate of

default, and compliance with representations and warranties; the

servicer is also tasked with foreclosing and disposing of

properties. SAC ¶ 53. Each tranche in an RMBS trust has a

different level of risk, and credit rating agencies assign a

particular rating to each tranche. Senior tranches receive a

greater percentage of payment compared to the payment allocated

to junior tranches. SAC ¶ 55.

     Deutsche Bank is the RMBS Trustee pursuant to the PSAs or

the Indenture Agreements for the Covered Trusts. SAC ¶¶ 50, 52,

58. The RMBS Trustee delivers to the certificate holders reports

that describe the performance of the loans. SAC ¶ 54. The PSAs

set forth the process by which the loans are conveyed to a

trust, namely the process in which the sponsor conveys loans to

the depositor and the depositor conveys loans to Deutsche Bank

as Trustee. SAC ¶ 59. Among the duties set forth in the PSAs,

Deutsche Bank must acknowledge receipt of the loan documentation

and retain physical possession of the documents. SAC ¶¶ 60, 62.

Deutsche Bank or a custodian was also required to issue a final

certification and exception report that identified the files

that were missing documents. SAC ¶ 63. The SAC alleges that in

the event of documentation deficiencies, Deutsche Bank was

required to demand that the sponsor cure defects or repurchase

or substitute defective loans. SAC ¶ 65. Some of the PSAs

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specified that repurchase was not available after a specified

period of time, typically two years after the trust closed. SAC

¶ 66.

     According to the SAC, Deutsche Bank was also required to

provide notice of breaches of covenants and representations and

warranties by the sponsors or originators and by the servicers

of the mortgages in the Trusts. SAC ¶¶ 67-69. The SAC alleges

that Deutsche Bank was aware of a widespread default rate and

underperforming loans because (1) several foreclosure actions

were commenced on Deutsche Bank’s behalf, SAC ¶¶ 97-98; (2) the

mortgage industry was widely plagued by predatory lending

practices and deficient underwriting guidelines, SAC ¶ 100;

(3) there were several highly publicized RMBS lawsuits,

including Deutsche Bank’s actions against certain sponsors and

mortgage loan originators and actions brought by monoline

insurers against sponsors for breaches of representations and

warranties concerning underwriting standards, SAC ¶¶ 102, 104,

115, 143-44; and (4) there were widespread downgrades in the

credit rating of RMBS Trusts due to high rates of default and

delinquencies, SAC ¶ 109. According to the SAC, despite being

aware of the widespread breaches of representations and

warranties, Deutsche Bank did not provide notice of these

defaults to the plaintiffs. SAC ¶ 117.



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     The SAC further alleges that Deutsche Bank became aware of

“Events of Default” under the Agreements and did not take

action. Among the alleged events of default, Deutsche Bank

allegedly knew that servicers were engaging in “robo-signing” to

foreclose on properties. SAC ¶¶ 123, 128. The servicers were

required to provide a conforming annual certification that they

were complying with the terms of the PSA. According to the SAC,

Deutsche Bank received certifications it knew to be false

because it knew the servicers were not satisfying their duties

under the PSAs, and the failure to provide a conforming

certification is allegedly an event of default under the PSAs.

SAC ¶¶ 138-40. The SAC alleges that with respect to the Trusts

governed by Indenture Agreements, Deutsche Bank was aware that

the parties tasked with the duty of protecting the collateral of

the trusts had failed to satisfy their obligations. SAC ¶¶ 132-

34. This failure allegedly constituted an event of default under

the Indenture Agreements. SAC ¶ 135.

     The SAC alleges additional misconduct by the servicers of

the Trusts, including allegations that the servicers charged

improper and excessive fees and purchased insurance policies for

properties that were already insured. SAC ¶ 149. According to

the SAC, this misconduct triggered Deutsche Bank’s duty to act

prudently. The SAC alleges that Deutsche Bank failed to take

action as required by the PSAs and Indenture Agreements because

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it was constrained by a conflict of interest. Among other

things, Deutsche Bank was allegedly involved in underwriting

securities using subprime mortgage loans. SAC ¶ 154. Deutsche

Bank’s affiliates were also involved in securitizing mortgage

loans with very high non-performance rates. SAC ¶ 157.

        The plaintiffs allege that they have suffered over $525

million in damages. SAC ¶ 161. The plaintiffs contend that if

Deutsche Bank had satisfied its obligations under the PSAs and

Indenture Agreements, the plaintiffs’ holdings would not have

decreased so markedly in value, and that if Deutsche Bank had

provided notice of the breaches of representations and

warranties, the sponsors or originators of the loans would have

been forced to substitute or repurchase loans. SAC ¶ 164. Of the

Trusts in this case, 45 Trusts are governed by PSAs, and 6

Trusts are governed by Indenture Agreements. Dkt. No. 60, Exs. A

& B.

        The SAC alleges several causes of action against Deutsche

Bank: (1) violations of the TIA for those Trusts that are

governed by Indenture Agreements, 1 (“Count 1”) SAC ¶¶ 167-76;

(2) breach of contract because Deutsche Bank allegedly breached

several obligations under the Agreements, (“Count 2”) SAC ¶¶



1 The plaintiffs agree that TIA claims for Trusts governed by PSAs are

foreclosed by Retirement Board of the Policemen’s Annuity & Ben. Fund of the
City of Chicago v. Bank of New York Mellon, 775 F.3d 154 (2d Cir. 2014). See
Dkt. No. 60; Brody Decl., Ex. B.

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177-86; (3) breach of fiduciary duty because Deutsche Bank

allegedly did not act in good faith and was hindered in its

performance of its duties under the PSAs and indenture

agreements by conflicts of interest, (“Count 3”) SAC ¶¶ 187-90;

(4) negligence and gross negligence, (“Count 4”) SAC ¶¶ 191-93;

(5) violation of the Streit Act, N.Y. Real Prop. Law § 124 et

seq., because Deutsche Bank allegedly did not exercise due care

in administering the mortgage trusts, (“Count 5”) SAC ¶¶ 194-

201; and (6) breach of the covenant of good faith, (“Count 6”)

SAC ¶¶ 202-06.

                                  III.

     The SAC sets out three basic theories of Deutsche Bank’s

liability under the various state and federal laws: (1) Deutsche

Bank failed to identify the missing documentation and to issue

the final exception reports as required by the PSAs and

consequently Deutsche Bank failed to compel the sponsors to

repurchase defective loans, SAC ¶¶ 63-66; (2) Deutsche Bank was

required to provide notice to all parties of breaches of

representations and warranties by the sponsors and servicers but

failed to do so, SAC ¶¶ 67-69; and (3) Deutsche Bank had a duty

to address the servicers’ failure to meet prudent servicing

standards. SAC ¶¶ 80-81, 86.




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                                     A.
      Deutsche Bank moves to dismiss various claims alleged in

the SAC on the grounds that the limitations periods have expired

on those claims. Deutsche Bank argues that the claims pertaining

to the 5 IndyMac Trusts are time barred because all the facts

the SAC alleges regarding these Trusts occurred before 2008.

Deutsche Bank also argues that the claims with respect to the

other 46 Trusts are time barred because the claims arose between

2005 and 2007 when the mortgages were deposited into the Trusts.

                                     (1)

     Deutsche Bank moves to dismiss the plaintiffs’ claims

related to the IndyMac Trusts, Brody Decl., Ex. D, arguing that

the plaintiffs’ claims for breach of contract, breach of

fiduciary duty, violation of the Streit Act, negligence and

gross negligence, and violation of the TIA are all barred under

the various statutes of limitations. 2 IndyMac was placed into

receivership on July 11, 2008, and on May 29, 2009, Deutsche


2 The parties do not dispute the limitations periods for the various claims.

The longest statute of limitations is six years. An action for breach of
contract is subject to a six-year statute of limitations. N.Y.C.P.L.R.
§ 213(2). Violations of the TIA are subject to a six-year statute of
limitations. Cruden v. Bank of N.Y., 957 F.2d 961, 967 (2d Cir. 1992)
(applying the statute of limitations of a contract claim to the TIA). An
action for breach of fiduciary duty is subject to statute of limitations that
runs three years after the plaintiff suffered the alleged injury. IDT Corp.
v. Morgan Stanley, 907 N.E.2d 268, 272-73 (N.Y. 2009). Negligence actions are
subject to a three-year statute of limitations. N.Y.C.P.L.R. § 214(4). There
is no specific provision establishing a statute of limitations for a Streit
Act claim but it would be either three years under N.Y.C.P.L.R. § 214(2) (an
action to recover upon a liability created by statute) or six years under
N.Y.C.P.L.R. § 213(1) (an action for which there is no limitation
specifically prescribed by law).

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Bank, as RMBS Trustee, initiated a lawsuit against IndyMac for

breaching the Trust Agreements. The claims pertaining to the

IndyMac Trusts are limited to Deutsche Bank’s inaction in

responding to servicing failures and breaches of the

representations and warranties in the PSA prior to the time

IndyMac was placed into receivership. The current action was

filed on December 23, 2014, more than six years after IndyMac

was placed into receivership.

    According to Deutsche Bank, the plaintiffs allege that

Deutsche Bank breached its obligation pursuant to the Agreements

to cause IndyMac to repurchase allegedly defective loans and

remedy its servicing violations. Deutsche Bank contends that the

plaintiffs’ allegations stem from Deutsche Bank’s alleged

failure to take action against IndyMac before July 2008 and any

claims against Deutsche Bank are thus time barred under either

the six-year or three-year statute of limitations that apply to

the various claims. The plaintiffs argue that they do not assert

claims against Deutsche Bank for failing to put back loans to

IndyMac. The plaintiffs argue that Deutsche Bank failed to

address failures by the servicers to service the mortgage loans

prudently and failed to provide notice to the plaintiffs of

ongoing breaches. E.g., SAC ¶¶ 182, 200. However, the

plaintiffs’ claims concerning the servicing failures and

Deutsche Bank’s lack of response and notice occurred before

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IndyMac was placed into receivership in 2008, and these claims

for servicing failures are the very claims Deutsche Bank argues

are time barred. SAC ¶¶ 86, 110.

     The only argument the plaintiffs make to salvage their

claims with respect to the IndyMac Trusts is that the breach of

fiduciary duty claim is not time barred because the statute of

limitations only begins to run once the trustee has openly

repudiated its duty to challenge the sponsor or the servicer,

something Deutsche Bank has not done. See Golden Pac. Bancorp v.

F.D.I.C., 273 F.3d 509, 518 (2d Cir. 2001). However, as Deutsche

Bank points out, the open repudiation doctrine applies only when

the remedy sought is an accounting or other form of equitable

relief, not a remedy at law. Willensky v. Lederman, No. 13-cv-

7026 (KMK), 2015 WL 327843, at *10 & n.21 (S.D.N.Y. Jan. 23,

2015); Stern v. Barney, 12 N.Y.S.3d 74, 75 (App. Div. 2015);

Ingham ex rel. Cobalt Asset Mgmt., L.P. v. Thompson, 931

N.Y.S.2d 306, 308 (App Div. 2011). Because the tolling rule only

applies to claims for accounting or equitable relief and the

plaintiffs’ claims are claims at law for damages, the breach of

fiduciary duty claim in this case was not tolled by the open

repudiation doctrine. While the plaintiffs stated at the

argument of the motion that they also sought equitable relief,

there is no particular form of equitable relief specified in the

SAC and the plaintiffs have not explained what equitable relief

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would be available against Deutsche Bank with respect to the

IndyMac Trusts.

     Thus, the plaintiffs’ claims concerning the 5 IndyMac

Trusts are time barred and should be dismissed.

                                   (2)

     Deutsche Bank also moves to dismiss portions of the

plaintiffs’ breach of contract, breach of the covenant of good

faith, TIA, and Streit Act claims as they pertain to all the

Trusts. Deutsche Bank argues that those claims are time barred

because the initial pooling of the loans and the deposit of the

underlying documents occurred before 2008, and the SAC alleges

that Deutsche Bank failed to ensure that the loan documentation

files were complete. The SAC outlines Deutsche Bank’s duties

with respect to ensuring the documents in the mortgage files

were complete, and alleges that Deutsche Bank had the duty to

certify that the documentation for the Trusts was full and

complete. SAC ¶¶ 62-63, 65, 78 (put back obligations and missing

documentation); SAC, Ex. C. The plaintiffs implicitly concede

that any claims arising from the faulty deposit of the initial

documentation of the loans would be time barred. Pls.’ Mem. of

Law in Opp. to Mot. at 12-13.

     Deutsche Bank argues that the claims hinge on allegations

that Deutsche Bank breached its duties to enforce remedies when

the final exception report, detailing any missing documents, for

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each Trust was issued. The Trusts closed between March 29, 2005

and July 12, 2007, and the final exception report was issued on

April 24, 2008. Brody Decl., Ex. V. The complaint in this case

was filed on December 23, 2014. Any claims arising from facts

prior to December 23, 2008, the longest statute of limitations

applicable to any of the claims, would be time barred. Supra

note 3.

     The plaintiffs argue, however, that the allegations that

Deutsche Bank breached its duties under the Agreements to

respond to breaches of representations and warranties and under

the Agreements and state law to respond to an Event of Default

are different from claims that Deutsche Bank failed to take

physical possession of the mortgage files when the Trusts were

formed and did not deliver exception reports in 2008 flagging

missing documentation. The statute of limitations for each cause

of action does not bar the plaintiffs’ claims that pertain to

Deutsche Bank’s failure to carry out its duty to respond to

servicing failures or provide notice of breaches of

representations and warranties. The duties arising from known

servicing failures and breaches of representations and

warranties are distinct from Deutsche Bank’s document and

certification duties. See Royal Park Invs. SA/NV v. HSBC Bank

USA, Nat’l Ass’n, 109 F. Supp. 3d 587, 607-09 & n.121 (S.D.N.Y.

2015) (concluding that claims related to document delivery,

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receiving mortgage loan files, and creating certification and

exception reports were time barred).

      Claims for document delivery failures are barred by the

statute of limitations. SAC ¶¶ 121-22, 164-65. But the majority

of claims are not barred. Claims based on allegations that

Deutsche Bank discovered breaches of representations and

warranties in 2009 and 2010 and took no action, SAC ¶ 100, or

allegations that “Deutsche Bank stood by while the Sponsors,

Servicers and Master Servicers of the Covered Trusts engaged in

so called ‘robo-signing’ on a widespread basis when the missing

documents were needed to foreclose on properties” are not time

barred. SAC ¶ 123. The SAC also alleges that when borrowers

defaulted on their mortgages, the servicers began fabricating

the documents necessary to foreclose on the loans. According to

the SAC, Deutsche Bank was aware that the servicers were

fabricating the loan documentation based on Deutsche Bank’s

earlier knowledge and the exception reports. SAC ¶ 128-30; SAC,

Ex. G ¶¶ 4-5. The allegations of Deutsche Bank’s failure to

address servicing failures are also not time barred. 3


3 The claims in the sprawling SAC are not limited to claims within the statute

of limitations. The SAC begins with a description of the securitization
process that dates back to the creation of the Trusts and the document
deficiencies and then proceeds to describe the servicing failures and the
alleged breaches of the representations and warranties by the sponsors and
servicers that occurred within the statute of limitations period. When the
SAC turns to the briefly-described Causes of Action, the SAC simply repeats
and realleges “each and every allegation set forth in the preceding
paragraphs above as if fully set forth herein.” See, e.g., SAC ¶ 167.
Deutsche Bank, in turn conceded at the argument of the motion that it was not

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      Moreover, there are other bases for the servicing failures

that are based on allegations that fall within the limitations

period. The SAC alleges, for example, that the servicers

improperly charged borrowers and breached the prudent servicing

standard, thereby triggering Deutsche Bank’s duty to act

prudently. SAC. ¶ 151. The SAC also alleges that Deutsche Bank

suffered from conflicts of interest. Deutsche Bank allegedly did

not take action to protect the Trusts because it was “engaged in

the same servicing misconduct in its role as a sponsor,

originator and servicer for other mortgages and RMBS trusts.”

SAC ¶ 159.

      Similarly, to the extent that the claims for breach of

contract, breach of the covenant of good faith, TIA violations,

and Streit Act violations are based on facts that took place

after the loans were in the Trusts, they are not time barred.

See SAC ¶ 86. Therefore, Deutsche Bank’s motion to dismiss these

causes of action based on the statute of limitations is granted

only to the extent that the claims are based on the failure of

Deutsche Bank to object initially to document delivery failures.




seeking to dismiss the various claims on the basis of the statute of
limitations—because the claims included allegations within as well as outside
the statute of limitations. Rather, it was simply attempting to give the
claims in the case a “haircut” by trimming off the time-barred allegations.

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                                  (3)
     Deutsche Bank also moves to dismiss the tort claims for

breach of fiduciary duty, negligence, and gross negligence as

time barred. The applicable statute of limitations is three

years for these claims. Supra note 2. Deutsche Bank argues that

the facts underlying these claims were known to the plaintiffs

prior to December 2011 because the plaintiffs cite numerous

articles and lawsuits from 2010 that reflected the widely known

problems in mortgage loan documentation and servicing. According

to Deutsche Bank, the plaintiffs would have discovered the

injury arising from Deutsche Bank’s alleged torts and would have

been able to bring these claims before 2014 when they actually

brought the tort claims.

     The plaintiffs argue that the statute of limitations for a

tort claim arising from the failure of an RMBS Trustee to assert

claims for repurchase of loans only accrues after the six-year

deadline for the RMBS trustee to bring claims has passed. The

plaintiffs cite National Credit Union Administration Board v.

HSBC Bank USA, 117 F. Supp. 3d 392 (S.D.N.Y. 2015), in which

Judge Scheindlin determined that the extender provision of 12

U.S.C. § 1787(b)(14) applied to the statute of limitations for

various breach of contract and tort claims and extended the

applicable limitations period by six years. Id. at 401-03. The

extender provision applies to claims brought by the National


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Credit Union Administration Board (“NCUAB”) as conservator or

liquidating agent for a Federal Credit Union. While the claims

in Judge Scheindlin’s case were brought by the NCUAB as

liquidating agent for various federal credit unions, that entity

is not involved in this case and the plaintiffs fail to explain

how the extender provision has any relevance at all to this

case.

     The plaintiffs argue more persuasively that the facts

alleged in the SAC are insufficient for this Court to conclude,

as a matter of law, that the plaintiffs were put on notice of

their claims before 2011. See Landesbank Baden-Wurttemberg v.

RBS Holdings USA Inc., 14 F. Supp. 3d 488, 503 (S.D.N.Y. 2014)

(collecting cases). There are questions of fact as to when the

claims accrued, whether the violations were continuing, and

whether the statute of limitations should be tolled. See NCUA,

117 F. Supp. 3d at 403. Therefore, Deutsche Bank’s motion to

dismiss the tort claims cannot be granted on the grounds they

are time barred.

                                  (4)
    The defendants move to dismiss the breach of contract

representation and warranty claims concerning MSAC 2007-NC4,

arguing that the plaintiffs acknowledge that Deutsche Bank

provided notice of alleged breaches of representations and

warranties and is presently enforcing repurchase claims against


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the sponsor of that trust in Deutsche Bank National Trust Co v.

Morgan Stanley Mortgage Capital Holdings LLC., No. 652877/2014

(N.Y. Sup. Ct. Cnty. Jan 23, 2015). SAC ¶ 102. The plaintiffs

argue that Deutsche Bank’s suit is vulnerable to timeliness

defenses, and that the suit does not assert claims against the

servicers for failure to service the loans prudently. The motion

to dismiss cannot be granted on this basis. On a motion to

dismiss, the Court cannot gauge the success or failure of

Deutsche Bank’s efforts, whether its claims were timely, and

whether Deutsche Bank’s claims in the state court litigation

satisfy its alleged duty to enforce repurchase obligations.

                                   B.
    Deutsche Bank moves to dismiss the plaintiffs’ breach of

contract claim on several additional bases: (1) because the

plaintiffs lack standing to enforce the PSAs under the

provisions of the Agreements in 17 Trusts; (2) because the SAC

fails to plead that Deutsche Bank knew of any breaches of

representations and warranties prior to an Event of Default; and

(3) because the SAC fails to allege a breach of Deutsche Bank’s

obligations that arose after an Event of Default.

                                   (1)

    Deutsche Bank moves to dismiss the plaintiffs’ breach of

contract claims relating to 17 Trusts because the Agreements for


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those Trusts contain “negating clauses.” The Agreements provide

that enforcement may be sought by registered holders of the

securities. Brody Decl., Ex. M. “Certificateholder” or “Holder”

is “[t]he [p]erson in whose name a Certificate is registered in

the Certificate Register[.]” Biron Decl., Ex. 52, § 1.01.

According to the PSAs, “Nothing in this Agreement or in the

Certificates, expressed or implied, shall give to any Person,

other than the Certificateholders and the parties hereto and

their successors hereunder, any benefit or any legal or

equitable right, remedy or claim under this Agreement.” Id. §

11.10; Brody Decl., Ex. M. The PSAs provide a cumbersome

mechanism by which the beneficial owners of the certificates can

be recognized as holders of the certificates, but the plaintiffs

do not argue that they have sought recognition as

certificateholders. Biron Decl., Ex 52, § 5.02(c).

    According to Deutsche Bank, the plaintiffs are not

certificateholders and are at most beneficial owners of

interests in the Trusts. Deutsche Bank contends that negating

clauses in the Agreements preclude the plaintiffs from asserting

claims and thus, the plaintiffs lack standing. The parties do

not dispute that the Depository Trust Company, also known as

Cede & Co., is the registered holder of the RMBS Certificates.

But the plaintiffs respond that the term “holder” in the PSAs

was intended to include beneficial owners of the RMBS

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certificates. The plaintiffs argue that Cede & Co. has no real

interest and has not suffered any injury in connection with the

breach of representations and warranties. This interpretation of

the Agreements, however, ignores the plain language of the PSA

provisions that treats registered holders differently from

beneficial owners and would render superfluous the provision of

the PSA that provides a mechanism for beneficial owners to

enforce the agreements. Biron Decl., Ex. 52, § 5.02(c); see

Int’l Multifoods Corp. v. Commercial Union Ins. Co., 309 F.3d

76, 86 (2d Cir. 2002) (interpretations that render a contract

provision superfluous are disfavored); Two Farms, Inc. v.

Greenwich Ins. Co., 993 F. Supp. 2d 353, 360 (S.D.N.Y. 2014),

aff’d, No. 14-318-CV, 2015 WL 6079559 (2d Cir. Oct. 16, 2015)

(“Courts interpreting contracts pursuant to New York law are

required to give each word and phrase in a contract its plain

meaning and avoid rendering the terms or provisions of a

contract superfluous.”).

     The plaintiffs do not point to any case law supporting

their position that Cede & Co. lacks standing to assert claims

and that beneficial owners are therefore, the rightful

plaintiffs in a case against an RMBS Trustee. The plaintiffs

argue that they can seek authorization from Cede & Co. to bring

the claims against the 17 Trusts. Courts in this district have

allowed plaintiffs to seek authorization from Cede & Co. even

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when the contract does not specifically authorize them to do so

because under New York law, contracts are freely assignable

absent language that prohibits assignment. See Royal Park Invs.

SA/NV v. Deutsche Bank Nat’l Tr. Co., No. 14-CV-4394 (AJN), 2016

WL 439020, at *3 (S.D.N.Y. Feb. 3, 2016); HSBC, 109 F. Supp. 3d

at 607 & n.111 (the plaintiffs had already begun the process of

seeking authorization from Cede & Co.). And in similar cases,

plaintiffs have been allowed to cure their lack of standing. See

id.; One William St. Capital Mgmt. v. U.S. Educ. Loan Tr. IV,

986 N.Y.S.2d 21, 22 (App Div. 2014) (petitioner cured lack of

standing by adding Cede & Co. as a nominal plaintiff).

    The plaintiffs represent that they are in the process of

obtaining Cede & Co.’s consent to bring this case as an

authorized proxy. On March 2, 2016, the plaintiffs submitted a

list of the trusts for which they received Cede & Co.’s

authorization. They received authorization for all but 3 Trusts.

The plaintiffs have cured their lack of standing with respect to

those trusts. The plaintiffs may thus pursue breach of contract

claims with respect to the trusts for which they have

authorization. The claims with respect to the other trusts for

which authorization is pending are dismissed without prejudice,

subject to the plaintiffs’ curing their lack of standing.



                                  (2)

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     Deutsche Bank also moves to dismiss the plaintiffs’ breach

of contract claim to the extent that the plaintiffs seek to

allege a breach of a pre-Event of Default duty. The gist of some

of the allegations in the SAC is that Deutsche Bank breached its

pre-Event of Default duties by failing to investigate and give

the investors notice of breaches of the representations and

warranties. If Deutsche Bank had provided the required notices

that alerted the investors of the breaches, then the sponsors

would have been forced to repurchase the loans of lower quality

than warranted or to substitute the loans with loans that met

underwriting standards. SAC ¶ 110. The plaintiffs allege that

this was a continuing duty and that Deutsche Bank failed to

comply with that duty throughout its tenure as Trustee.

     Deutsche Bank also moves to dismiss the breach of contract

claim to the extent it alleges that Deutsche Bank breached its

post-Event of Default duties. The plaintiffs allege that when

Deutsche Bank learned that the servicers failed to provide

notice of numerous breaches of representations and warranties,

Deutsche Bank failed to comply with its contractual duty to act

as a prudent person and require cures and provide notice to the

certificateholders of the defaults by the servicers.




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                                   i.

      Deutsche Bank argues that the SAC does not allege Deutsche

Bank had knowledge of the alleged breaches of representations

and warranties. Without actual knowledge, Deutsche Bank contends

that the Agreements do not impose any obligations on Deutsche

Bank, that no post-Event of Default duties were triggered, and

that it did not have a duty to make any investigation

independent of the plaintiffs’ own obligation to bring problems

with the trusts to the Trustee’s attention. Deutsche Bank

argues, in essence, that the SAC must plead that Deutsche Bank

knew of specific breaches of representations and warranties by

the originators or servicers with respect to each loan.

     To prevail ultimately on the breach of contract claim, a

plaintiff does have to demonstrate breach on a “‘loan-by-loan

and trust-by-trust basis.’” Royal Park, 2016 WL 439020, at *6

(quoting Ret. Bd. of the Policemen's Annuity & Ben. Fund of the

City of Chi. v. Bank of N.Y. Mellon (“PABF”), 775 F.3d 154, 162

(2d Cir. 2014)). But this is not a pleading requirement.

     At the pleading stage, plaintiffs cannot be
     required to identify breaches of representations
     and warranties with respect to the individual loans
     in the specific trusts—such information is, at this
     stage, . . . is uniquely in the possession of
     defendants. Rather, plaintiffs satisfy their burden
     where   their   allegations  raise   a   reasonable
     expectation that discovery will reveal evidence
     proving their claim.



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Policemen’s Annuity & Ben. Fund of City of Chi. v. Bank of Am.,

NA, 943 F. Supp. 2d 428, 442 (S.D.N.Y. 2013)(internal quotation

marks and citation omitted), abrogated in part on other grounds

by PABF, 775 F.3d 154 (2d Cir. 2014); Okla. Police Pension &

Ret. Sys. v. U.S. Bank Nat’l Ass’n, 291 F.R.D. 47, 69-70

(S.D.N.Y. 2013), abrogated in part on other grounds by PABF, 775

F.3d 154 (2d Cir. 2014); see also Royal Park Invs, SA v. The

Bank of N.Y. Mellon, No. 14-cv-6502 (GHW), 2016 WL 899320, at

*4-*5 (S.D.N.Y. Mar. 2, 2016); Blackrock Core Bond Portfolio v.

U.S. Bank Nat’l Ass’n, No. 14-CV-9401 (KBF), 2016 WL 796848, at

*15 (S.D.N.Y. Feb. 26, 2016). 4

      A plaintiff is not required to plead the specific actual

knowledge of a defendant with respect to the particular

deficiencies of a particular loan. Other courts have noted that

plaintiffs can survive a motion to dismiss by alleging massive

breaches of representations and warranties and by referring to

the mortgage industry’s practices of ignoring underwriting

guidelines and engaging in predatory lending. Bank of N.Y.

Mellon, 2016 WL 899350, at *5; Blackrock, 2016 WL 796848, at

*16; HSBC, 109 F. Supp. 3d at 601-02; Policemen’s/BofA, 943 F.

Supp. 2d at 442 (“Indeed, based on the allegations of the SAC,


4 Deutsche Bank argues that the plaintiffs should not rely on Oklahoma Police
because it was decided before the decision of the Second Circuit Court of
Appeals in PABF. But PABF addressed the standards for a class action, 775
F.3d at 162-63, and did not concern the pleading requirements for actual
knowledge.

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it would be implausible to assume that somehow all of the

mortgage loans underlying the MBS miraculously avoided being

originated with practices generally utilized throughout WaMu and

its contracted affiliates at that time.”). In this case, the

exhibits to the SAC include specific examples of alleged

problems with origination policies. E.g., SAC, Ex. F at 6. The

SAC alleges that sponsors and originators of the loans have been

investigated for deficient underwriting practices, and that the

knowledge of these lawsuits and investigations would have

alerted Deutsche Bank to the ongoing breaches of representations

and warranties. SAC ¶ 115. The SAC also alleges that Deutsche

Bank knew the loans were underperforming. SAC ¶ 116. The

contract claims cannot be dismissed for failure to plead actual

knowledge with respect to pre-Event of Default obligations.

                                  ii.

     Deutsche Bank argues that it did not have a pre-Event of

Default obligation to enforce representations and warranties.

Deutsche Bank recognizes that the allegations in the SAC plead

that Deutsche Bank “may have been alerted to potential

misconduct by sponsors and originators and a risk of R&W

falsity.” Def.’s Mem. of Law in Supp. of Mot. at 23. Deutsche

Bank argues that it had no duty to investigate based on publicly

available information and cites to provisions in the Agreements

that indicate that Deutsche Bank could rely on the documents in

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the trust, and that the trustee was “not to be bound to make any

investigation into the facts or matters stated in any . . .

certificate, statement, instrument, [or] opinion” unless

requested to do so in writing by a majority certificate holder.

Biron Decl., Ex. 1-a § 6.02(a), Ex. 52 § 8.02(a)(v). However, it

is clear that if the trustee discovered or received information

of any materially defective document in the mortgage file or of

a breach by the originator or seller of a representation or

warranty, then the trustee did have an obligation to notify the

servicer and take action. Biron Decl., Ex. 52 § 2.03(a). The SAC

alleges that Deutsche Bank had a duty under the Agreements to

provide notices of breaches of representations and warranties.

SAC ¶¶ 67, 110. The contract claims cannot be dismissed on the

ground that the Agreements did not trigger any obligations prior

to an Event of Default.

     Deutsche Bank also argues that for 39 of the Trusts, the

PSAs did not require Deutsche Bank to enforce repurchase

obligations. For 21 of the trusts, Deutsche Bank contends that

there was no enforcement duty on the RMBS Trustee, and for 18

Trusts, Deutsche Bank contends that the enforcement duties were

only triggered by the receipt of a written notice of breach.

However, the SAC alleges that Deutsche Bank had the duty to give

prompt notice of potential breaches of representations and

warranties to the sponsors or the originators and that this

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notice would have forced the sponsors or the originators to

repurchase or substitute other loans for the defective loans.

E.g., SAC, Ex. C at 65-66 (Trusts AABST 2006-1 and FFML 2006-

FF11); SAC ¶ 110. Deutsche Bank does not argue that the PSAs and

Indentures exempted it from providing this notice of the alleged

breaches. The SAC sufficiently alleges a breach of contract

based on Deutsche Bank’s failure to provide this notice. This

allegation does not depend on whether Deutsche Bank had a duty

to enforce repurchase obligations, and provisions detailing the

Trustee’s repurchase obligations do not preclude an action

against Deutsche Bank for failing to provide notice.

     Thus, Deutsche Bank’s motion to dismiss the plaintiff’s

breach of contract claim based on Deutsche Bank’s pre-Event of

Default obligations cannot be granted on these grounds.

                                  (3)
     With respect to the breach of contract claims arising from

Deutsche Bank’s alleged breach of its post-Event of Default

obligations, the SAC alleges that Deutsche Bank was required to

notify investors of the occurrence of an Event of Default and

act as a prudent person in exercising its rights and powers

under the PSAs. SAC ¶¶ 70, 74, 118.

     Deutsche Bank argues that the SAC fails to show that an

Event of Default ever occurred. Deutsche Bank claims that an

Event of Default only occurs after notice has been given to the


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servicers of possible breaches and that no notice was given.

Deutsche Bank also claims that the SAC does not allege any

breaches of any particular trust agreement. Under the

Agreements, an Event of Default requires three things: (1) a

material breach by a servicer, (2) notice to the servicer of its

material breach or knowledge by a servicing officer of the

material breach, and (3) the servicer’s failure to cure the

breach. E.g., Biron Decl., Ex. 52, § 7.01(a)(ii).

     There are sufficient allegations in the SAC that Deutsche

Bank was aware of breaches of representations and warranties by

the servicers and that an Event of Default occurred. The SAC

sufficiently pleads that Deutsche Bank was aware that the

servicers and sponsors of the Trusts were engaging in robo-

signing, attempted to cover-up massive deficiencies in the

documents in the Trusts and breached prudent servicing

standards, SAC ¶¶ 123, 128, and that Deutsche Bank was aware

that the servicers were failing to act prudently. SAC ¶ 129; see

Bank of N.Y. Mellon, 2016 WL 899320, at *6; Blackrock, 2016 WL

769848, at *18-*19; Fixed Income Shares: Series M v. Citibank

N.A., No. 14-cv-9373 (JMF), 2015 WL 5244707, at *12 (S.D.N.Y.

Sept. 8, 2015); HSBC, 109 F. Supp. 3d at 602-03; Okla. Police,

291 F.R.D. at 69-70; Ret. Bd. of the Policemen’s Annuity & Ben.

Fund of City of Chi. v. Bank of N.Y. Mellon, 914 F. Supp. 2d



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422, 432 (S.D.N.Y. 2012), aff’d in part, rev’d in part, by,

PABF, 775 F.3d 154 (2d Cir. 2014).

      Deutsche Bank also argues that the Agreements for 11 Trusts

require written notice to a sponsor of a breach of a

representation or warranty and an opportunity for the sponsor to

cure the breach before an Event of Default can occur. This

argument is unavailing. Deutsche Bank cannot take advantage of

its own failure to give notice to the sponsor of the possible

breaches of representations and warranties to argue that no

Event of Default occurred. The prevention doctrine precludes

such a defense. An RMBS Trustee cannot rely on the lack of

notice to excuse its own failure to act. Royal Park, 2016 WL

439020, at *5; Fixed Income, 2015 WL 5244707, at *11(“But

Citibank may not excuse its failure to perform the additional

duties required of it after an Event of Default by pointing to

its own failure to give notice; that is, Citibank is not

permitted to take advantage of its own wrong.”(internal citation

and quotation marks omitted)); HSBC, 109 F. Supp. 3d at 605;

Okla. Police, 291 F.R.D. at 70-71; SAC ¶ 119. 5 Thus, Deutsche



5 Deutsche Bank argues that the prevention doctrine does not save the

plaintiffs’ claim because Deutsche Bank did not have an affirmative duty to
notify the servicers of their material breaches. But Deutsche Bank recognizes
that the district court in Fixed Income concluded that even without a
contractual requirement to give notice, the prevention doctrine would apply
to a party who insists on the performance of a condition precedent when the
non-performance is caused by the party itself. 2015 WL 5244707, at *11. This
approach is consistent with the decision of Court of Appeals in In re Bankers
Tr. Co., 450 F.3d 121, 127 (2d Cir. 2006).

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Bank’s motion to dismiss the breach of contract claim with

respect to Deutsche Bank’s post-Event of Default duties cannot

be granted on this basis.

      With respect to 38 Trusts, Deutsche Bank argues that the

Trusts require actual knowledge by a responsible officer of the

RMBS Trustee that an Event of Default occurred. The SAC alleges

actual knowledge by describing Deutsche Bank’s involvement in

RMBS litigation and receipt of notices from monoline insurers

who were pursuing actions against servicers, as well as alarming

rates of default and rating downgrades. SAC ¶¶ 100-02, 103-09.

On a motion to dismiss, these allegations are sufficient to

plead Deutsche Bank’s actual knowledge with respect to Events of

Default. See Bank of N.Y. Mellon, 2016 WL 899320, at *6

(collecting cases).

      Deutsche Bank also argues that 9 Trusts require actual

receipt of a written notice of an Event of Default by a

responsible officer of the RMBS Trustee. 6 Deutsche Bank contends

that the plaintiffs did not plead receipt of a written notice

and that the breach of contract claims should therefore be

dismissed. However, the SAC alleges that the Association of

Mortgage Investors notified all major RMBS trustees, including

Deutsche Bank, about the abuses in servicing and monitoring of


6 Deutsche Bank initially argued that 12 Trusts were subject to this

requirement, but Deutsche Bank withdrew this argument as to 3 Trusts. See
Def.’s Reply at 12.

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RMBS. SAC ¶ 142. The SAC further alleges that Deutsche Bank

received instructions from institutional investors in 2011 about

the need to investigate loan pools. SAC ¶¶ 143-44. These

allegations sufficiently plead that Deutsche Bank received

actual notice of alleged Events of Default. See BNP Paribas

Mortg. Corp. v. Bank of Am., N.A., 778 F. Supp. 2d 375, 399

(S.D.N.Y. 2011) (concluding that formal written notices are not

required unless the indenture explicitly sets out the format of

the notice).

     Moreover, in BNP Paribas, the court concluded that based on

the applicable indentures, an allegation that a trustee had

actual knowledge was sufficient to state a claim for breach of

the indenture even in the absence of a written notice. 778 F.

Supp. 2d at 397-98. In this case, the PSAs require the Trustee

to act if it has actual knowledge of an event of default. E.g.,

Biron Decl., Ex. 41, § 8.01 (“In case of an Event of Default has

occurred and remains uncured, the Trustee shall exercise such of

the rights and powers vested in it by this Agreement, and use

the same degree of care and skill in their exercise as a prudent

person.”). Therefore, the contract claims cannot be dismissed

based on Deutsche Bank’s argument that Deutsche Bank did not

receive notice.




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                                  (4)
    Deutsche Bank also argues that the plaintiffs’ contract

claims are barred by no-action clauses contained in the

Agreements of all the Trusts. A “no-action” clause requires a

certificate holder to provide the Trustee with a written notice

of an Event of Default, prove that the suit is supported by

twenty-five percent of the voting rights in the trust, and make

a written request to the Trustee to file suit, indemnify the

Trustee, and give the Trustee time to act. E.g., Biron Decl.,

Ex. 52 § 11.03; Ex. 41 § 10.08. Deutsche Bank does not seek to

enforce all aspects of the no-action clauses. Deutsche Bank only

argues that the requirements of attaining a twenty-five percent

pre-suit consensus and providing written notice to the RMBS

Trustee of an event of default should be enforced because they

are intended to avoid duplicative litigation.

    The plaintiffs correctly point out the futility of making a

request to Deutsche Bank because Deutsche Bank, as the RMBS

Trustee, is the target of the plaintiffs’ lawsuit. See Cruden,

957 F.2d at 968. Deutsche Bank recognizes that a pre-suit demand

on Deutsche Bank is unnecessary but argues that severability

provisions in the Agreements require enforcing the other aspects

of the no action clause. Deutsche Bank does not point to any

precedent supporting dismissal based on severing certain no-

action clause requirements. Indeed, Cruden has been interpreted


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by several courts to preclude the outcome Deutsche Bank seeks.

See Royal Park, 2016 WL 439020, at *3 (“However, Cruden’s

holding was not limited to the pre-suit demand provision; the

Second Circuit held that the entire no action clause, which

included both a pre-suit demand requirement and a written notice

requirement, did not apply to the Trustee in that case.”) ;

HSBC, 109 F. Supp. 3d at 606; Sterling Fed. Bank, F.S.B. v. DLI

Mortg. Capital, Inc., No. 09-cv-6904 (JFG), 2010 WL 3324705, at

*4 (N.D. Ill. Aug. 20, 2010). Cf. Blackrock, 2016 WL 796848, at

*13-*14 (concluding that Cruden did not answer the issue of

severability but determining that “when a demand requirement

falls, the entire provision falls, including the written-notice

requirement”). Therefore, the no action clause does not provide

a basis for dismissing the plaintiffs’ breach of contract

claims.

    In sum, Deutsche Bank’s motion to dismiss Count 2, the

contract claim, is granted only to the extent the plaintiffs

lack standing to pursue claims with respect to the 3 Trusts that

contain negating clauses and for which they have not yet

received authorization from Cede & Co., see Brody Decl., Ex. E,

and is denied in all other respects.




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                                   C.
    Deutsche Bank moves to dismiss all the tort claims in the

SAC, Counts 3 and 4, for breach of fiduciary duty and for

negligence and gross negligence, respectively.

    The SAC alleges that Deutsche Bank breached its fiduciary

duty to the Certificateholders upon the occurrence of an Event

of Default. According to the SAC, Deutsche Bank, as RMBS

Trustee, was bound to act prudently to protect the plaintiffs’

interests. SAC ¶¶ 74-76. The SAC alleges that Deutsche Bank did

not perform its duties under the PSAs and Indenture Agreements

competently and was negligent in failing to exercise due care in

performing its ministerial duties in the administration of the

trusts. SAC ¶¶ 13, 88-89.

    Deutsche Bank makes several arguments in support of its

motion to dismiss the tort claims: (1) the tort claims are

duplicative of the contract claims; (2) the economic loss

doctrine bars the tort claims; (3) Deutsche Bank does not owe a

fiduciary duty to the plaintiffs; (4) Deutsche Bank did not have

a conflict of interest; (5) the Trusts bar claims against

Deutsche Bank for tort liability and the SAC fails to state a

claim for negligence or gross negligence.

                                  (1)

    With respect to Deutsche Bank’s argument that the tort

claims are duplicative, it is well established that if “the


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basis of a party’s claim is a breach of solely contractual

obligations, such that the plaintiff is merely seeking to obtain

the benefit of the contractual bargain through an action in

tort, the claim is precluded as duplicative.” Bayerische

Landesbank, N.Y. Branch v. Aladdin Capital Mgmt. LLC, 692 F.3d

42, 58 (2d Cir. 2012). However, “[w]here an independent tort

duty is present, a plaintiff may maintain both tort and contract

claims arising out of the same allegedly wrongful conduct.” Id.

Under New York law, “an indenture trustee owes a duty to perform

its ministerial functions with due care, and if this duty is

breached the trustee will be subjected to tort liability.” AG

Capital Funding Partners, L.P. v. State St. Bank & Tr. Co., 896

N.E.2d 61, 67 (N.Y. 2008). Moreover, after an Event of Default,

an indenture trustee’s fiduciary duties expand under the New

York common law such that “‘fidelity to the terms of an

indenture does not immunize an indenture trustee against claims

that the trustee has acted in a matter inconsistent with his or

her fiduciary duty of undivided loyalty to trust

beneficiaries.’” BNP Paribas, 778 F. Supp. 2d at 401 (quoting

Beck v. Mfr. Hanover Tr. Co., 632 N.Y.S.2d 520, 527-28 (App.

Div. 1995)).

    Some of the plaintiffs’ negligence claims appear to be the

type of claims that courts have dismissed as duplicative. In

Fixed Income, the district court dismissed as duplicative a

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negligence claim alleging that, “after Events of Default

occurred, Citibank failed to notify investors of the

originators’ and sponsors’ breaches of their obligations, to

enforce sellers’ obligation to cure, or to enforce servicers’

obligations.” Fixed Income, 2015 WL 5244707, at *13.         In this

case, the negligence claims in the SAC are based in large part

on the requirements of the PSAs, namely the duties set forth in

the PSAs requiring that Deutsche Bank give notice to all parties

of breaches of representations and warranties and provide

notices of servicing related breaches. SAC ¶ 89.

     These claims are not distinct from the duties in the PSAs

and the Indenture Agreements and do not provide an independent

basis for tort liability. See Phoenix Light SF Ltd. v. Bank of

N.Y. Mellon, No. 14-cv-10104 (VEC), 2015 WL 5710645, at *7

(S.D.N.Y. Sept. 29, 2015) (concluding that allegations that

heightened duties including a duty to make prudent decisions

were triggered by an event of default were duties that were

subsumed within the language of the PSAs and indentures and did

not give rise to a separate breach of fiduciary duty claim);

HSBC, 109 F. Supp. 3d at 609 (concluding that an allegation that

the RMBS trustee failed to perform or performed its

responsibilities in a grossly inadequate and negligent manner

was only actionable in contract).



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     However, the other tort allegations in the SAC that Deutsche

Bank did not avoid conflicts of interest, breached its fiduciary

duty after an Event of Default, and did not take due care in

performing ministerial acts are not duplicative. 7 See Nat’l

Credit Union Admin. V. U.S. Bank Nat’l Ass’n, No. 14-cv-9928

(KBF), 2016 WL 796850, at *11 (S.D.N.Y. Feb. 25, 2016); Phoenix

Light, 2015 WL 5710645, at *7 (recognizing that the duty to

avoid conflicts of interest is an extra-contractual duty that

should be pleaded as a negligence action); HSBC, 109 F. Supp. 3d

at 609 n.127 (recognizing a post-Event-of-Default fiduciary duty

and distinguishing between negligently performing contractual

duties and the “independent duty to perform [] nondiscretionary

ministerial duties with due care and to avoid conflicts of

interest”). 8




7 In the SAC, the plaintiffs appear to conflate the duty to perform

ministerial acts with due care with their allegations that Deutsche Bank
negligently performed or failed to perform certain duties under the contract.
Only tort claims premised on the former survive because New York recognizes a
duty to perform ministerial acts as an extra contractual duty. AG Capital,
896 N.E.2d at 67.

8 The SAC includes a discursive history of the actions of Deutsche Bank as

Trustee and then includes all of those allegations by incorporation in all
the specific causes of action including Counts 3 and 4 for breach of
fiduciary duty and for negligence and gross negligence. It is not possible
therefore to dismiss those causes of action even though they incorporate some
references that are not actionable because they include some allegations that
are actionable as torts. See supra note 3. This form of pleading is not ideal
and leaves to further motion practice a realistic determination of the scope
of the tort claims in this case.

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                                  (2)

    Deutsche Bank also argues that the plaintiffs’ tort claims

are barred by the economic loss doctrine. A plaintiff cannot

seek damages by bringing a tort claim when the injury alleged is

primarily the result of economic injury for which a breach of

contract claim is available. BNP Paribas Mortg. Corp. v. Bank of

Am., N.A., 949 F. Supp. 2d 486, 505 (S.D.N.Y. 2013). The

dispositive issue is whether Deutsche Bank owed duties to the

plaintiffs that were separate from the duties set forth in the

PSAs and the Indenture Agreements. Several of the plaintiffs’

arguments supporting the negligence, gross negligence, and

breach of fiduciary claims are not duplicative of the breach of

contract claim. Thus, the motion to dismiss the tort claims

cannot be granted on this basis. See Royal Park, 2016 WL 439020,

at *9 (allowing tort claims to proceed where the alleged duty

was extra-contractual); but see Blackrock, 2016 WL 796848, at

21; U.S. Bank, 2016 WL 796850, at *11 (dismissing a breach of

fiduciary claim under the economic loss doctrine because the

damages arising from the claim “sound in defendants’ failure to

take contractual actions”).

                                  (3)

    Deutsche Bank argues that an RMBS trustee does not owe a

fiduciary duty to investors and thus Count 3 should be

dismissed. The plaintiffs counter that the breach of fiduciary

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duty claim focuses on the alleged failure to act prudently to

protect the certificateholders after an Event of Default. The

plaintiffs appear to recognize that the conflict of interest

claims and the claims that Deutsche Bank did not perform

ministerial acts with due care are not proper breach of

fiduciary claims under New York law, and can only be pleaded in

the complaint as negligence claims. See AG Capital, 896 N.E.2d

at 67; Ellington Credit Fund, Ltd. v. Select Portfolio

Servicing, Inc., 837 F. Supp. 2d 162, 192 (S.D.N.Y. 2011).

Breach of fiduciary duty claims may be brought for acts that are

outside the scope of contractual duties after an Event of

Default. See Phoenix Light, 2015 WL 5710645, at *7; HSBC, 109 F.

Supp. 3d at 609 (“[I]nsofar as plaintiffs allege a post-Event of

Default breach of fiduciary duty, they properly state a

claim[.]”); BNP Paribas, 778 F. Supp. 2d at 401. As discussed

above, the plaintiffs sufficiently pleaded an Event of Default.

Supra pp. 28-31. Thus, the motion to dismiss Count 3 for breach

of fiduciary duty cannot be granted on this basis.

                                  (4)
    Deutsche Bank also argues that the SAC fails to plead that

Deutsche Bank was subject to a conflict of interest. The SAC

alleges that Deutsche Bank had a duty to avoid conflicts of

interest and did not provide undivided loyalty to investors. SAC

¶ 90. The SAC alleges that “Deutsche Bank conducted repeated


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business with the same Originators and Servicers and refused to

take action in order to gain return favors when the roles were

reversed.” SAC ¶ 153. The plaintiffs also allege that Deutsche

Bank was engaged in the same improper securitization processes,

and that an affiliate of Deutsche Bank had been sued by RMBS

trustees. SAC ¶¶ 153, 157.

     Various courts have allowed similar conflict of interest

allegations to survive in the RMBS trust context, when pleaded

as a tort claim, as the plaintiffs have done. In its reply

Deutsche Bank argues that several courts have dismissed

“identical breach of fiduciary duty claim[s]” as duplicative,

but Deutsche Bank misreads the cases. In Fixed Income Shares,

the plaintiffs’ breach of the duty of independence, negligence,

and fiduciary duty claims survived a motion to dismiss because

the plaintiffs’ allegations that Citibank was beholden to

servicers because it faced possible liability for the sale of

its own loans were separate from the breach of contract claims.

2015 WL 5244707, at *13. A claim for breach of the duty to avoid

conflicts of interest is therefore distinct from contract

liability, and the SAC’s allegations satisfy the requirements of

a conflict of interest negligence claim. See Bank of N.Y. Mellon,

2016 WL 899320, at *7; Royal Park, 2016 WL 439020, at *9 (“The

alleged quid pro quo system where Defendant turns a blind eye to

breaches of [representations and warranties] in the hopes that

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counterparties would later return the favor, if true, would

demonstrate that the Defendant received a[ ] benefit from its

decision not to act on the breaches of [representations and

warranties], constituting a conflict of interest.” (internal

quotation marks and citation omitted)); HSBC, 109 F. Supp. 3d at

610; see also Phoenix Light, 2015 WL 5710645, at *7(concluding

that conflict of interest allegations could be properly pleaded

as a negligence action, not as a breach of fiduciary duty

claim).

    On the merits of the claims, Deutsche Bank argues that it

was not subject to a conflict of interest based on Deutsche

Bank’s own involvement in mortgage loan securitization. Deutsche

Bank contends that the conflict of interest theory relies only

on a hypothetical conflict of interest. The plaintiffs point out

that one of the mortgage loan originators was a Deutsche Bank

affiliate. Whether Deutsche Bank was in fact subject to a

conflict of interest arising from its own actions and

association with mortgage loan originators is an issue that

cannot be resolved on a motion to dismiss.

    Therefore, Deutsche Bank’s motion to dismiss the conflict of

interest negligence claim cannot be granted on the basis that

the SAC fails to plead the existence of a conflict of interest.




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                                  (5)

    Deutsche Bank also argues that the Agreements bar an action

for negligence based on duties that are not set forth in the

Agreements. Biron Decl., Ex. 52 § 8.01(i) (no implied covenants

shall be read into the Agreement prior to the occurrence of an

event of termination). However, as the plaintiffs point out, the

Agreements also include a provision stating that no provision in

the agreement relieves the Trustee of liability for its own

negligent actions. Id. § 8.01 (“No provision of this Agreement

shall be construed to relief the Trustee from liability for its

own negligent action, its own negligent failure to act or its

own misconduct[.]”); SAC ¶ 88. The plaintiffs specifically point

out that while the Trustee’s liability may be limited to its

negligence after an Event of Default, the Agreements do not

appear to restrict actions alleging that the Trustee is liable

for negligence in performing extra-contractual duties. Other

courts have similarly allowed negligence claims to proceed

despite the presence of exculpatory provisions in the PSAs

because the PSAs did not unambiguously bar a negligence action.

Phoenix Light, 2015 WL 5710645, at *8 (citing Fixed Income, 2015

WL 5244707, at *13). On a motion to dismiss, the negligence

claim cannot be dismissed based on an argument that the

Agreements bar a negligence action related to Deutsche Bank’s



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alleged conflicts of interest or duty of care with respect to

ministerial acts in administering the trust.

    Deutsche Bank also argues that the SAC fails to plead gross

negligence or negligence with respect to Deutsche Bank’s

ministerial duties. Deutsche Bank contends that determining

whether a servicer breached its obligations and whether to

provide a notice of breach are not ministerial tasks. Whether

the tasks were in fact ministerial or not is also not an issue

that can be resolved on a motion to dismiss.

    Therefore, Deutsche Bank’s motion to dismiss Counts 3 and 4

is granted only with respect to claims that Deutsche Bank

negligently failed to carry out the Trustee duties set forth in

the Agreements that are duplicative of the breach of contract

claim and is denied in all other respects.

                                   D.
    Deutsche Bank also argues that Count 6, the claim for breach

of the covenant of good faith, should be dismissed as

duplicative of the breach of contract claim and because

provisions of the Agreements bar any liability.

    “New York law . . . does not recognize a separate cause of

action for breach of the implied covenant of good faith and fair

dealing when a breach of contract claim, based upon the same

facts, is also pled.” Harris v. Provident Life & Accident Ins.

Co., 310 F.3d 73, 81 (2d Cir. 2002). A plaintiff can maintain a

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claim for breach of the implied covenant of good faith and fair

dealing simultaneously with a breach of contract claim “only if

the damages sought by the plaintiff for breach of the implied

covenant are not intrinsically tied to the damages allegedly

resulting from breach of contract.” Page Mill Asset Mgmt. v.

Credit Suisse First Bos. Corp., No. 98-cv-6907 (MBM), 2000 WL

335557, at *8 (S.D.N.Y. Mar. 30, 2000) (internal quotation marks

and citation omitted); see also Okla. Police, 291 F.R.D. at 72.

    The plaintiffs argue that, under New York law, causes of

action for breach of the implied covenant of good faith may be

brought in the alternative when there is a dispute about the

scope of the contract and the contractual duties. Because

Deutsche Bank disputes that it owed the plaintiffs pre and post-

Event of Default duties to provide notice and ensure that the

servicers were acting prudently, the plaintiffs argue that the

claim for breach of the implied covenant of good faith must

survive the motion to dismiss. However, there is no dispute that

the Agreements in this case are valid contracts and govern the

parties’ relations. Because the SAC’s allegations supporting a

breach of the implied covenant of good faith and fair dealing

arise from the same facts as the breach of contract claim, Count

6 should be dismissed. See SAC ¶¶ 202-05, 177-84; U.S. Bank,

2016 WL 796850, at *12; Okla. Police, 291 F.R.D. at 72.



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                                     E.
    The parties agree that under the decision of the Court of

Appeals in PABF, 775 F.3d at 154, TIA claims can only be

asserted with respect to the 6 Trusts that are governed by

Indenture Agreements. 9 The TIA claims with respect to the 45

Trusts that are governed by PSAs are therefore dismissed.

    The SAC alleges that pursuant to § 315(b) of the TIA,

Deutsche Bank was required to give the plaintiffs notice of a

default under the Indenture Agreements within 90 days of

learning of a default. SAC ¶ 72; 15 U.S.C. § 77ooo(b). The

plaintiffs argue that because Deutsche Bank failed to give

notice of defaults and breaches of representations and

warranties, Deutsche Bank violated the TIA. Deutsche Bank argues

that the allegations that the RMBS Trustee violated TIA § 315(b)

fail because the trustee did not have knowledge of a default. As

discussed above however, there are sufficient allegations in the

SAC to plead that Deutsche Bank had actual knowledge of

defaults. SAC ¶¶ 94-97, 100-02, 103-08, 128, 137. 151.

Therefore, the § 315(b) claims cannot be dismissed for failure

to allege Deutsche Bank’s actual knowledge.




9 One of the 6 Indenture Trusts is also an IndyMac Trust, INABS 2006-H1. See
Brody Decl., Exs. B and D. Because the claims as to all the IndyMac Trusts
are time barred, the TIA claim for this Trust is dismissed on the basis that
it is time barred.

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    Deutsche Bank also argues that the plaintiffs’ § 315(c)

claim fails because the SAC does not allege that a “default”

occurred. Under § 315(c) of the TIA: “The indenture trustee

shall exercise in case of default (as such term is defined in

such indenture) such of the rights and powers vested in it by

such indenture, and to use the same degree of care and skill in

their exercise, as a prudent man would exercise or use under the

circumstances in the conduct of his own affairs.” 15 U.S.C. §

77ooo(c) (emphasis added). Deutsche Bank argues that the

definition of “Events of Default” in the Indenture Agreements

controls the definition of the term “default” and an Event of

Default never occurred. The TIA places duties on a trustee in

case of default and leaves the definition of “default” to the

parties. The term “default” means what the Indenture Agreements

say it means, namely “[a]ny occurrence that is, or with notice

or the lapse of time or both would become, an Event of Default.”

Fitzgerald Decl., Ex. 3; see Okla. Police, 291 F.R.D. at 67.

Under the Indenture Agreements, a “default” is a prelude and

precondition for an “event of default.” The Indenture Agreements

define an “Event of Default” differently from a “default” and

Deutsche Bank’s arguments to the contrary are unavailing. Thus,

Deutsche Bank’s motion to dismiss the plaintiffs’ § 315(c)

claims is denied. Moreover, the plaintiffs have sufficiently

alleged that Deutsche Bank had knowledge of Events of Default

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under the Indenture Agreements. See Bank of N.Y. Mellon, 2016 WL

899320, at *9 n.11.

    Deutsche Bank also moves to dismiss the plaintiffs’ claims

under Section 316(b), which provides that “[T]he right of any

[certificate]holder . . .to receive payment of the principal of

and interest . . . shall not be impaired or affected without the

consent of such holder.” 15 U.S.C. § 77ppp(b); SAC ¶ 174. The

plaintiffs argue that if Deutsche Bank had satisfied its duties,

the plaintiffs would not have incurred the losses attributable

to the defaults of the defective loans. District courts in this

Circuit have rejected similar arguments, concluding that

§ 316(b) only addresses changes to the holder’s legal rights in

the form of involuntary debt restructurings or modifications to

the terms of the indenture. Phoenix Light, 2015 WL 5710645, at

*10; Marblegate Asset Mgmt. v. Educ. Mgmt. Corp., 75 F. Supp. 3d

592, 614 (S.D.N.Y. 2014) (discussing the statutory history and

purpose of § 316(b)). The SAC does not allege any involuntary

restructuring conduct by Deutsche Bank. Thus, Deutsche Bank’s

motion to dismiss the TIA claim, Count 1, is granted to the

extent that the TIA claims with respect to the 45 Trusts covered

by the PSAs are dismissed and the plaintiffs’ TIA § 316(b) claim

is dismissed with respect to the 6 Trusts covered by Indentures.




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                                   F.
    Deutsche Bank moves to dismiss Count 5, the plaintiffs’

claim under the Streit Act. The Streit Act regulates “all

mortgage investments” where the properties are located in the

state, the trustee does business with respect to the investments

in New York, or the trustee is authorized to do business in New

York. N.Y. Real Prop. Law § 124. The Streit Act provides that no

Trustee shall accept a Trust under an indenture or mortgage

unless it contains various provisions including a provision

that, in the case of an event of default, the Trustee has a duty

to “exercise such of the rights and powers vested in the trustee

by such instrument, and to use the same degree of care and skill

in their exercise as a prudent man would exercise or use under

the circumstances in the conduct of his own affairs.” Id.

§ 126(1). The SAC alleges that Deutsche Bank violated the Streit

Act by failing to exercise all its rights under the PSAs to

ensure that defaulted loans or loans for which representations

and warranties were breached were repurchased or substituted.

SAC ¶ 78. The parties agree that only the 45 PSA Trusts are

potentially subject to the Streit Act because they are not

covered by the TIA. See N.Y. Real Prop. Law § 130-k.

     Deutsche Bank contends that the plaintiffs’ Streit Act

claim fails as a matter of law because the SAC alleges that

Deutsche Bank violated post-Event-of-Default duties when in


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fact, the Streit Act does not impose any post-Event-of-Default

duties on a trustee. 10 Section 126(1) states that:

      No trustee shall hereafter accept a trust under any
      trust indenture or mortgage within the contemplation
      of this article or act as trustee thereunder unless
      the instrument creating the trust shall contain the
      following provisions, among others, which confer the
      following powers and impose the following duties
      upon the trustees . . . 1. In the case of an event
      of default (as such term is defined in such
      instrument), to exercise such of the rights and
      powers vested in the trustee by such instrument, and
      to use the same degree of care and skill in their
      exercise as a prudent man would exercise or use under
      the circumstances in the conduct of his own affairs.

N.Y. Real Prop. Law § 126(1). Deutsche Bank argues that New York

Real Property Law § 126(1) does not create any additional duties

for trustees beyond the duties in the PSAs, and only requires

that certain types of provisions be included in the indenture

agreement. Deutsche Bank is plainly correct.

      In Phoenix Light, the district court concluded that the

plaintiffs failed to state a claim under the Streit Act because

the complaint did not allege that the trustee had accepted a

deficient indenture. 2015 WL 5710645, at *11; Bank of N.Y.

Mellon, 2016 WL 899320, at *11 (“Thus, while section 126

outlines duties and obligations that a trustee must undertake,

it does not impose those duties; instead, it mandates that those



10Deutsche Bank also argues that the RMBS trusts are not “mortgage
investments” under the Streit Act and that there is no private cause of
action under the Streit Act for damages. It is unnecessary to reach these
arguments.

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terms be included in the indenture.”); U.S. Bank, 2016 WL

796850, at *12. 11 On its face, § 126 requires only that a trust

indenture contain certain provisions, such as the provision

requiring a trustee to exercise rights and powers prudently in

the case of an event of default. See N.Y. Real Prop. Law §

126(1). The PSAs at issue in this case included such provisions.

E.g., Biron Decl., Ex. 52, § 8.01. The Streit Act does not

address compliance with the provision that is required to be

included in the indenture agreement. The SAC does not allege

that the PSAs omitted any of the provisions that the Streit Act

requires. Therefore, Count 5 of the SAC, the plaintiffs’ Streit

Act claim, should be dismissed.




11 The plaintiffs submitted a letter arguing that there was a split of

authority in this District on this issue. However, HSBC, on which the
plaintiffs rely, does not address whether the Streit Act requires more than
the inclusion of various terms in an indenture. 109 F. Supp. 3d at 610-11.

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                              CONCLUSION
     The Court has considered all of the arguments by the

parties. To the extent not specifically addressed above, the

parties’ arguments are either moot or without merit. For the

foregoing reasons, Deutsche Bank’s motion to dismiss is denied

in part and granted in part. The Clerk of Court is directed to

close all pending motions.

SO ORDERED.
Dated:    New York, New York
          March 28, 2016


                                        ____________/s/______________
                                               John G. Koeltl
                                        United States District Judge




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